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                                                                                                    FILED
                                                                                                 U.S. DISTRICT COURT
                                 IN THE UNITED STATES DISTRICT COURT                         EASTERN DISTRICT .A.RXtlNSAS


                                     EASTERN DISTRICT OF ARKANSAS

                                            WESTERN DIVISION                           JAMES
                                                                                       By:   L1kJ:47 r~o"'
ARTHUR CARSON

v.                                                   CASE NO. 4:18 cv 275 sww

STEVE LANDERS KIA, AND RUSSELL COMSTOCK.



                       PLAINTIFF RESPONSE TO DEFENDANT'S MOTION TO DISMISS



TO THE HONORABLE JUDGE OF SAID COURT:

 Comes Now the Plaintiff, and brings this His Response to Defendant' Motion to Dismiss pursuant

To the Following:

1). The Defendants Motion states because Steve Landers is a fictitious name, service was insufficient.

Business Entities that Regularly conducts Business in the Eastern District of Arkansas, is a Person

As defined by 15 U.S. C. 1681a (b), FCRA. "Commerce & Trade".

2). At all relevant times, the Defendants Ratified each and every Act or Omission complained of

By Russell Comstock, and Employee of Steve Landers Kia. Contemporaneously Service on Russell

Comstock essentially provided dual service, since Russell Comstock were acting on behalf of Steve-

Landers Kia, see 17 CFR 1.2.

 This Court should construe Plaintiff's Complaint Liberally, and assume all the facts as True, and draw

All reasonable inferences in favor of the Plaintiff, Haines V. Kerner, 404 U.S. 519, 92 S.Ct. 594 (1972),

Accord Rule 8 (a) FRCP, Bell Atl., Corp. V. Twombly, 550 U.S. 544 (2007).

Federal Courts have imposed Liablity upon Principles for misdeeds of Agents acting with Apparent

Authority, see Dark V. U.S. 641 F.2d. 805 (CA 9 1981),



                                                     (1)
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3). Negligent Failure to comply with the Fair Credit Reporting Act Violated Plaintiff's Rights, and

States a Valid Claim, Baker V. McKinnon, 152 F.3d. 107, 1013 (8rh Cir. 1998).

 The Defendants can not ignore their Supervisory Liability, "The Federal Rules reject the approach that

Pleadings is a game of skill in which one misstep by Counsel may be decisive to the Outcome, and

Accept the principle that the purpose of pleadings is to facilitate a proper decision on the merits."

Conly V. Gibson, 355 U.S. 41, at 48 (1957).

WHEREFORE, PREMISES CONSIDERED, PLAINTIFF PRAYS, This matter proceed to Trial on all Parties.

ALTERNATIVE?!: PLAINTIFF Be Allowed to Amend.

~~                                    .
Arthur Carson




                                           CERTIFICATE OF SERVICE:

 I, Arthur Carson, certify that a Copy of Plaintiff's Repose is hereby mailed to: Daniel Carter,

By U.S. Mail, Postage Prepaid.

 I Swear the    fore~g   statements are true and correct.

  ~               ~                       . Dated this 29th day of May, 2018.

Arthur Carson

2000 Rice St.

Little Rock AR 72202

501-508-1090




                                                       (2)
